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 9
                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     THE UNITED STATES OF AMERICA, ) No. 15-CR-00158 JAM
                      Plaintiff,        )
12                                      ) STIPULATION
                                        ) AND
13
           v.                           ) ORDER
14                                      )
     BRYCE BEAVER                       ) Date: 12/1/2015
15
                      Defendant.        ) Time: 9:15 a.m.
16   _________________________________) Judge: John A. Mendez
17         Plaintiff United States of America, by and through its counsel of record, and
18
     defendant Bryce Beaver, by and through his counsel of record, hereby stipulate as
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     follows:
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21         1.      By previous order, this matter was set for status on November 3, 2015.
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           2.      By this stipulation, defendant now moves to continue the status
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     conference until December 1, 2015 at 9:15 a.m., and to exclude time between
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25   November 3, 2015 and December 1, 2015, under Local Code T4. Plaintiff does not

26   oppose this request.
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           3.      The parties agree and stipulate, and request that the Court find the
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 1   following:
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            a.      The government has provided the initial discovery. The defense is also in
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     the process of investigation and research regarding the possible defenses in this case.
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 5          b.      Counsel for defendant desires additional time to complete the review of
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     discovery, to conduct defense investigation, and to discuss potential resolutions with her
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     client. Counsel is continuing to engage in negotiations with the government.
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 9          c.      Counsel for defendant believes that failure to grant the above-requested
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     continuance would deny her the reasonable time necessary for effective preparation,
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     taking into account the exercise of due diligence.
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13          d.      The government does not object to the continuance.

14          e.      Based on the above-stated findings, the ends of justice served by
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     continuing the case as requested outweigh the interest of the public and the defendant in
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     a trial within the original date prescribed by the Speedy Trial Act.
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18          f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
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     § 3161, et seq., within which trial must commence, the time period of November 3,
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     2015 to December 1, 2015, inclusive, is deemed excludable pursuant to 18 U.S.C.§
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22   3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by

23   the Court at defendant’s request on the basis of the Court's finding that the ends of
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     justice served by taking such action outweigh the best interest of the public and the
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     defendant in a speedy trial.

27          4.      Nothing in this stipulation and order shall preclude a finding that other
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     provisions of the Speedy Trial Act dictate that additional time periods are excludable


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 1   from the period within which a trial must commence.
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 3   IT IS SO STIPULATED.
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     Dated: October 30, 2015                        Respectfully submitted,
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                                                    /s/ Kelly Babineau
 7
                                                    KELLY BABINEAU
 8                                                  Attorney for Bryce Beaver
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     Dated: October 30, 2015                        /s/Justin Lee
11                                                  JUSTIN L. LEE
12                                                  Assistant U.S. Attorney

13
                                          ORDER
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15         IT IS SO FOUND AND ORDERED this 30th day of October, 2015
16
                                 /s/ John A. Mendez______________________
17   _______________________________
                                 JOHN A. MENDEZ
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                                 UNITED STATES DISTRICT COURT JUDGE
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